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12

13

14                            UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16

17   MARCELLUS MCMILLIAN,                           Case No.: 2:19-cv-02121-MWF-JCx
18                                                  The Honorable Michael W. Fitzgerald
           Plaintiff,
19                                                  (OPP TO DEFS.’ MIL NO. 4)
20   vs.                                            PLAINTIFF MARCELLUS
                                                    MCMILLIAN’S AMENDED
21                                                  OPPOSITION TO DEFENDANTS’
     GOLDEN STATE FC LLC,                           MOTION IN LIMINE NO. 4 TO
22   AMAZON FULFILLMENT                             EXCLUDE ARGUMENTS RE: WITNESS
     SERVICES, INC., AMAZON.COM                     TRAINING ON CALIFORNIA LAW
23   SERVICES, INC., AMAZON.COM,
     INC., and DOES 1 to 100, inclusive,            Trial: June 28, 2022
24                                                  Time: 8:30 a.m.
           Defendants.                              Ctrm.: 5A
25
                                                    FPC: June 6, 2022
26                                                  Time: 11:00 a.m.
                                                    Ctrm.: 5A
27
                                                  1.Action Filed: January 11, 2019
28


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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2        1. SUMMARY OF PLAINTIFF’S ARGUMENT
3          Defendants’ motion to exclude evidence of whether certain witnesses1 received any
4    training on California law, must be denied.
5          First, evidence that Defendants’ failed to train employees on California law
6    demonstrates a conscious disregard for the rights and safety of others and is relevant to
7    Plaintiff, Marcellus McMillian’s (“McMillian”) claim for punitive damages. Civil Code
8    section 3294 (“malice” as “conduct…by the defendant with a willful and conscious
9    disregard of the rights and safety of others.”) Furthermore, whether such conduct (not
10   training employees on California laws), was repeated or an isolated incident is relevant to
11   show reprehensibility of the Defendants’ conduct, which is the most important indicium
12   of the reasonableness of a punitive damages award. State Farm Mutual Auto Ins. Co. v.
13   Campbell 538 U.S. 408, 409 (2003). Additionally, Defendants allege that their conduct
14   towards McMillian was not intentional or willful, and this evidence is relevant to show
15   otherwise, as evidence of past actions may be admitted to show motive, intent, plan,
16   knowledge or absence of mistake or accident. Weeks v. Baker & McKenzie 63 Cal.App.4th
17   1128, 1162 (1998).
18         Second, “Every person is presumed to know the law.” Pittsburgh & Lake Angeline
19   Iron Co. v. Cleveland Iron Mining Co. 178 U.S. 270, 278 (1900). The law presumes that
20   everyone is aware of the obligations the law imposes of them, and one cannot escape the
21   effect of the law by claiming ignorance. People v. O'Brien 96 Cal. 171, 176 (1892). As is
22   the case here too, Defendants are presumed to know the law and the obligations the law
23   imposes on them. This is particularly true of Human Resources witnesses and other
24   members of management who oversee employees in California like McMillian.
25

26   1
       Defendants’ Notice of Motion indicates that Defendants seek to exclude evidence regarding “HR
     employees or employees of the Reed Group” not being trained on California law. Defendants’ motion
27   in limine on the other hand indicates that it seeks to exclude such evidence pertaining to “witnesses
     designated under Rule 30(b)(6).” It remains unclear what witnesses Defendants’ motion in limine
28   ultimately pertains to, it should be denied on these grounds alone.


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1    Defendants’ witnesses are subject to cross examination on their legal obligations and
2    cannot evade liability by claiming ignorance of the laws.
3            Third, Defendants fail to mention that Neshira Wagner (“Wagner”) whose
4    deposition testimony they cite to in their motion, was designated as the person most
5    knowledgeable regarding Defendants’ compliance with its obligations under the
6    California’s Fair Employment and Housing Act (i.e., California laws), as it pertains
7    to accommodating employees and engaging in the interactive process with employees.
8    Thus, questions as to whether this witness has training in California law are wholly
9    relevant as this witness was designated on topics specifically pertaining to California
10   law. Tamisha Dennis, another witness, was designated as the PMK regarding
11   accommodations under California laws. Moreover, the knowledge and training on
12   California law as it pertains to other witnesses who oversaw California employees (like
13   McMillian)—whether it be in Human Resources or otherwise, is also relevant given
14   these witnesses were expected to follow California laws in their positions.
15           Fourth, any lack of training or knowledge by Human Resources employees and other
16   members of management who oversaw McMillian and other California employees is
17   relevant to McMillian’s claim for negligent hiring, supervision, and retention. For this
18   claim, McMillian must show that Defendants knowing hired, retained, or supervised
19   employees who they knew were incompetent and created risk of harm to employees like
20   McMillian as a result thereof.       CACI 426. These employees’ lack of training and
21   knowledge of California law, despite being required to follow and abide by California
22   laws, is relevant to show their incompetence, and how repeated and widespread the issue
23   is demonstrates Defendants’ neglect and conscious disregard for their incompetence and
24   the risk of harm resulting therefrom. Thus, the evidence is admissible for this reason as
25   well.
26           Fifth, this evidence is highly probative and not inadmissible under FRE Rule 403.
27   This evidence is relevant to McMillian’s claims Defendants will not suffer any prejudice
28   from the introduction of this evidence, nor will it result in an undue consumption of time

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1    or confuses jurors. As referenced above and detailed further below, this motion in limine
2    must be denied.
3     2. ARGUMENT
4        A. Evidence That Defendants’ Witnesses Were Not Trained on California
5             Laws is Relevant to McMillian’s Claim for Punitive Damages.
6         Federal Rules of Evidence Rule 401 provides that evidence is relevant “if it has any
7    tendency to make a fact more or less probably than it would be without the evidence; and
8    that the fact is of consequence in determining the action.” As detailed below, Defendants’
9    failure to train Human Resources personnel and other employees such as supervisors and
10   managers who oversee employees in California like McMillian, is relevant to McMillian’s
11   claim for punitive damages, and thus, admissible.
12           (1) Evidence of the Lack of Training is Relevant to Show Defendants’
13                Willful and Conscious Disregard for the Rights or Safety of Others.
14        Civil Code section 3294 defines “malice” for purposes of punitive damages liability
15   as “conduct which is intended by the defendant to cause injury to the plaintiff or despicable
16   conduct which is carried on by the defendant with a willful and conscious disregard of the
17   rights and safety of others. Weeks v. Baker & McKenzie 63 Cal.App.4th 1128, 1162
18   (1998). Defendants’ failure to provide training on California law to their employees,
19   including Human Resources professionals, is relevant to demonstrate a willful and
20   conscious disregard for the rights and safety of its California employees. Defendants are
21   also arguing in this case that the failure to accommodate and other unlawful conduct was
22   not done intentionally and it was an accident. However, that argument has also been
23   rejected as “Evidence of past actions may be admitted to provide some fact such as motive,
24   intent, plan, knowledge or absence of mistake or accident.” (Id.) Evidence of more than
25   one individual not being trained on California laws is also relevant to demonstrate that this
26   failure to provide adequate and necessary training was not a mistake or accident, rather, it
27   was done intentionally as part of Defendants’ conscious disregard for the rights and safety
28   of its employees.

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1               (2) Proof of a Company-Wide Unlawful Policy or Practice is Also
2                   Relevant to Punitive Damages.
3         Evidence that Defendants’ Human Resources personnel and employees were not
4    trained on California laws is relevant to McMillian’s claim for punitive damages and
5    reprehensibility (or lack thereof) of the Defendants’ conduct. The California Supreme
6    Court and the United States Supreme Court both hold that, to determine reprehensibility
7    on a punitive damages claim, a trial court “must” consider whether “the conduct involved
8    repeated actions or was an isolated incident.” State Farm at 409; Roby v. McKesson
9    Corporation 47 Cal.4th 686, 713 (2009). Each court held, “Reprehensibility of the
10   defendant’s conduct is the most important indicium of the reasonableness of a punitive
11   damages award.” State Farm Mutual Auto Ins. Co. v. Campbell 538 U.S. 408, 409 (2003)
12   (emphasis added); Roby at 713; Gober v. Ralphs Grocery Co. 137 Cal.App.4th 204, 219
13   (2006) (employment harassment and discrimination). In the context of employment
14   claims, the California Supreme Court explained on the question of “reprehensibility”:
15                   The high court instructed courts to consider whether [1] the harm
                 caused was physical as opposed to economic; [2] the tortious conduct
16               evinced an indifference to or a reckless disregard of the health or
                 safety of others; [3] the target of the conduct had financial vulner-
17               ability; [4] the conduct involved repeated actions or was an isolated
                 incident; and [5] the harm was the result of intentional malice, trick-
18               ery, or deceit, or mere accident.
19   Roby at 713 (emphasis added); see State Farm at 409. Thus, Defendants’ repeated and
20   ongoing failures to train Human Resources personnel and other employees on California
21   laws is relevant to question of “reprehensibility” for McMillian’s punitive damages claim
22   as well.
23       B. Defendants Are Presumed to Know the Law and Cannot Evade
24              Liability by Claiming Ignorance of the Laws.
25        “Every person is presumed to know the law.” Pittsburgh & Lake Angeline Iron Co.
26   v. Cleveland Iron Mining Co. 178 U.S. 270, 278 (1900). Ignorance of the law is no excuse
27   for a violation thereof. People v. O'Brien 96 Cal. 171, 176 (1892). Defendants, who run
28   a significant portion of their operations in California and have numerous employees in

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1    California, cannot hope to claim ignorance of the laws and evade liability.
2         Defendants’ witnesses, particularly their Human Resources personnel who hold
3    themselves out as being professionals surrounding human resources policies such as
4    accommodations, discrimination, harassment, and retaliation, are presumed to know the
5    law, and are subject to cross examination on their training on California laws, or lack
6    thereof. If Defendants’ witnesses do not know the law, then it calls into question if and
7    how they would have followed the law, which is relevant to prove liability. Thus,
8    Defendants’ witnesses and their knowledge on the applicable California laws is directly at
9    issue to demonstrate liability.
10       C. Two of Defendants’ Witnesses Were Designated as PMK’s Specifically
11            As to Topics On California Laws Relating to the FEHA and
12            Accommodations, Thus Their Training and Background on California
13            Law is Relevant For This Reason as Well.
14         In addition to the above, Defendants specifically designated at least two of their
15   Rule 30(b)(6) witnesses as persons most knowledgeable (“PMK”) on topics related to
16   California laws. (Madjidi Decl., ¶ 3.) Among those witnesses is Neshira Wagner, who
17   was designated as the person most knowledgeable on the subjects of Amazon’s
18   compliance with its obligations under the California Fair Employment and Housing Act
19   as it pertains these designated topics:
20        (i) providing Amazon’s employees with reasonable accommodations;
21        (ii) engaging in the interactive process with Amazon employees;
22        (iii) advising Amazon on what reasonable accommodation options are
23        appropriate/available at its disposal;
24         (iv) advising Amazon on how to engage in the interactive process with their
25        employees.
26   (Exh. 2, Topic 1(e).) Wagner, who is the only witness that Defendants identify by name
27   and reference deposition testimony from in their motion, was designated on topics
28   specifically pertaining to California law. Thus, evidence related to Wagner’s training on

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1    California law cannot be excluded, and is relevant foundational information. Moreover,
2    Wagner was employed by Defendants’ third party agent The Reed Group, who was
3    involved in granting and denying accommodation requests of Defendants’ employees, and
4    thus, her knowledge of California law and any training related thereto is relevant to
5    demonstrate whether California laws were being followed with regard to McMillian’s
6    accommodation requests.
7         Additionally, Tamisha Dennis (“Dennis”) was also designated as a Rule 30(b)(6)
8    witness, and she too was designated as the PMK regarding requests for accommodations
9    due to an employee’s medical condition as defined under California law. (Exh. 3, topic 6;
10   Exh. 4, Dennis Depo., 17:18-18:3.) Dennis also has knowledge of the accommodation
11   process as it applied to McMillian, and as such, her knowledge of and training in California
12   law is relevant as well. Even Amy Virden, the PMK/Rule 30(b)(6) witness regarding
13   McMillian’s termination, served as a Human Resources manager overseeing others in HR,
14   and as someone who supervises other HR employees (including those who were involved
15   in handling McMillian’s accommodation requests), her training and knowledge on
16   California laws is also relevant and probative evidence. (Exh. 5, Virden Depo., 31:21-
17   32:3.) Indeed, any member of management, including but not limited to members of
18   Human Resources, and their knowledge on California laws is relevant for all the same
19   reasons.
20       D. This Evidence is Relevant to McMillian’s Negligent Hiring, Firing, and
21              Retention Cause of Action.
22        Evidence of Defendants’ failure to train its employees and its employees’ general
23   lack of knowledge on California law is also relevant to McMillian’s negligent hiring,
24   firing, and retention cause of action. This claim requires that McMillian show that an
25   employee(s) was hired by Defendants; the employee(s) were incompetent to perform work
26   for which she/he was hired or retained; that Defendants knew or should have known of the
27   employee(s)’ incompetence and that it created a risk of harm; and Defendants negligence
28   in hiring, supervising, or retaining the employee(s) was a substantial factor in causing the

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1    harm.    CACI 426.      Here, in order for McMillian to demonstrate that Defendants’
2    employee(s), including members of Human Resources, were incompetent, and that their
3    incompetence created a risk of harm, McMillian must be able to demonstrate that
4    individuals who were expected to be familiar with California laws were not. Furthermore,
5    McMillian must also demonstrate that Defendants knew of this incompetence. In doing
6    so, McMillian must be able to introduce evidence that Defendants did not provide training
7    on California laws, and despite repeated occurrences of unlawful violations of California
8    laws due to this failure to provide training, Defendants negligently continued to hire,
9    retain, and supervise these individuals, knowing it would case harm to McMillian and
10   other employees. Thus, this evidence is also directly relevant to McMillian’s cause of
11   action for negligent hiring, retention and supervision as well.
12       E. This Evidence is Not Inadmissible Under FRE Rule 403 and is Highly
13             Probative.
14           Evidence may be excluded under FRE Rule 403 if its probative value is substantially
15   outweighed by the danger of one or more of the following: unfair prejudice, confusing the
16   issues, misleading the jury, undue delay, wasting time, or needlessly presenting
17   cumulative evidence. The “prejudice” referred to applies to evidence which uniquely
18   tends to evoke an emotional bias against defendant as an individual and which has very
19   little effect on the issues.” People v. Coddington 23 Cal.4th 529, 588 (2000) (emphasis
20   added). “Prejudicial” does not mean “damaging” or inconvenient for defendants. Id.
21           As detailed above, this evidence is highly probative, and directly relevant to
22   McMillian’s claim for punitive damages, and cause of action for negligent hiring,
23   retention, and supervision, among other reasons. Defendants will suffer little to no
24   prejudice if this evidence is introduced, and Defendants’ argument that the evidence is
25   “damaging” and not favorable does not constitute prejudice. Because this evidence is
26   directly relevant to McMillian’s claims, introducing such evidence will also not confuse
27   the jurors, mislead them, or result in an undue consumption of time. Thus, the evidence
28   must be admitted and cannot be excluded under FRE Rule 403 either.

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1     3. DEFENDANTS’ FAILURE TO MEET & CONFER
2         Defendants have indicated they did not meet and confer because Plaintiff’s counsel
3    was in trial, however, the parties have had multiple phone calls to meet and confer on trial
4    pleadings while Plaintiff’s counsel has been on trial, and the parties have regularly
5    communicated through email as well. (Madjidi Decl., ¶ 2; Exh. 1.)
6     4. CONCLUSION
7         For the reasons above, Defendants’ motion in limine must be denied.
8

9    Dated: March 8, 2022              SHEGERIAN & ASSOCIATES, INC.
10

11                                     By:
                                             Mahru Madjidi, Esq.
12
                                             Attorneys for Plaintiff,
13                                           MARCELLUS MCMILLIAN
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                PLAINTIFF’S AMENDED OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 4
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      DECLARATION
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1                           DECLARATION OF MAHRU MADJIDI
2

3         I, Mahru Madjidi, declare as follows:
4         1. I am an attorney at law, duly authorized to practice law before all of the courts of
5    the State of California. I am a managing associate attorney for Shegerian & Associates,
6    the attorney of record for plaintiff, Marcellus McMillian, in this case. I am familiar with
7    the files, pleadings, and facts in this case and could and would competently testify to the
8    following facts on the basis of my own personal knowledge.
9         2. Defendants have indicated they did not meet and confer because our office was
10   in trial, however, the parties have had multiple phone calls to meet and confer on trial
11   pleadings while we have been in trial, and the parties have regularly communicated
12   through email as well. I can understand and appreciate that being engaged in trial does
13   limit the availability of the parties to communicate, however, it does not serve as a basis
14   for failing to meet and confer altogether and not emailing my office about what motions
15   in limine they intend to file until hours before filing their motions. Attached hereto as
16   Exhibit 1 is a true and correct copy of the email correspondence indicating that
17   Defendants’ intend to file four motions in limine, which took place on December 13, 2021,
18   the same day the motions in limine were due.
19        3. From my review, there are three witnesses designated as persons most
20   knowledgeable (“PMK”) on topics related to California laws. Attached hereto as Exhibit
21   2 is a true and correct copy of Neshira Wagner’s deposition notice reflecting the topics she
22   was designated as a PMK for.
23        4. Attached hereto as Exhibit 3 is a true and correct copy of a deposition notice for
24   PMK Tamisha Dennis.
25        5. Attached hereto as Exhibit 4 is a true and correct copy of relevant excerpts from
26   the deposition of Tamisha Dennis.
27        6. Attached hereto as Exhibit 5 is a true and correct copy of relevant excerpts from
28   the deposition of Amy Virden.


         DECLARATION OF MAHRU MADJIDI IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 4
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1         I declare, under penalty of perjury under the laws of the State of California, that the
2    foregoing is true and correct.
3         Executed on this 8th day of March, 2022, at Los Angeles, California.
4

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                                                 Mahru Madjidi, Esq.
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         DECLARATION OF MAHRU MADJIDI IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 4
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                      EXHIBIT 1
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    From:             Grodan, Alexander L.
    To:               Mahru Madjidi; Fitzgerald, Barbara A.
    Cc:               Johnson, Ethel J.; Griselda Rodriguez; Bohm, Jr., Kevin J
    Subject:          RE: McMillian v. Amazon
    Date:             Monday, December 13, 2021 12:34:27 PM
    Attachments:      image001.png
                      image002.png
                      image003.png
                      image004.png
                      image005.png
                      image006.png
                      image007.png
                      image008.png
                      image027.png


    We are working on it.

    In the meantime, below is the list of our anticipated motions in limine:

            1) Exclude reference to Defendants’ financial information.
            2) Exclude reference to other employees whose employment ended while on approved
            leave.
            3) Exclude reference to training of leave administrators/employees on California law.
            4) Exclude argument equating violation of company policy with a violation of law.

    Please let us know if Plaintiff is willing to stipulate to exclude any of the above.

    Thank you,

    Alex

    Alexander L. Grodan
    Morgan, Lewis & Bockius LLP
    600 Anton Blvd., Suite 1800 | Costa Mesa, CA 92626
    Direct: +1.949.399.7191 | Main: +1.949.399.7000 | Fax: +1.949.399.7001
    Mobile: +1.310.415.9026 | alexander.grodan@morganlewis.com | www.morganlewis.com
    Assistant: Patricia Martin | +1.949.399.7112 | patricia.martin@morganlewis.com




    From: Mahru Madjidi <mmadjidi@shegerianlaw.com>
    Sent: Monday, December 13, 2021 12:26 PM
    To: Grodan, Alexander L. <alexander.grodan@morganlewis.com>; Fitzgerald, Barbara A.
    <barbara.fitzgerald@morganlewis.com>
    Cc: Johnson, Ethel J. <ethel.johnson@morganlewis.com>; Griselda Rodriguez
    <grodriguez@shegerianlaw.com>; Bohm, Jr., Kevin J <kevin.bohm@morganlewis.com>
    Subject: RE: McMillian v. Amazon

    [EXTERNAL EMAIL]
    Alex,
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                      EXHIBIT 2
   Case 2:19-cv-02121-MWF-JC Document 134 Filed 03/08/22 Page 18 of 69 Page ID #:7013
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                       __________  District
                                                          Central District ofof __________
                                                                              California
                      Marcellus McMillian                                      )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      2:19-cv-02121-MWF(JCx)
                                                                               )
                 Golden State FC, LLC, et al.                                  )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                           REED GROUP MANAGEMENT, LLC c/o Jacqueline M. De Leon, Esq.
                       Gordon Rees Scully Mansukhani, 100 SE Second Street, Suite 3900, Miami, Florida 33131
                                                       (Name of person to whom this subpoena is directed)
      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
     u
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

See “Exhibit A” attached.
 Place:                                                                                Date and Time:
           Orlando Office Center - Downtown Orlando                                              May 28, 2020 at 10:30 a.m. EST
           390 N. Orange Avenue, Suite 2300, Orlando, FL 32801

          The deposition will be recorded by this method:                     Stenographic and Audiovisual for use in trial

        Production: You, or your representatives, must also bring with you to the deposition the following documents,
       u
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:
                       See “Exhibit A” attached.



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:       May 5, 2020
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Marcellus McMillian                                           , who issues or requests this subpoena, are:
Griselda S. Rodriguez, RODRIGUEZ & TRAN, LLP, 631 S. Olive Street, Suite 820, Los Angeles, California 90014;
griselda@rodrigueztran.com; (213) 325-3024
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
   Case 2:19-cv-02121-MWF-JC Document 134 Filed 03/08/22 Page 19 of 69 Page ID #:7014
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:19-cv-02121-MWF(JCx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                              .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                    :=9<F:3;A /;2 <B@7;5 1AJ@ =?<6707A7<;@ <; 7=?<C727;5 :/G<;J@
                    3:=9<F33@D7A6?3/@<;/093/11<::<2/A7<;773;5/57;57;A637;A3?/1A7C3
                    =?<13@@ D7A6 :/G<;J@ 3:=9<F33@ 777 /2C7@7;5 :/G<; <; D6/A
                     ?3/@<;/093 /11<::<2/A7<;@ <=A7<;@ /?3 /==?<=?7/A3 /C/79/093 /A 7A@
                     27@=<@/9/;2 <?7C/2C7@7;5:/G<;<;6<DA<3;5/537;A637;A3?/1A7C3
                     =?<13@@D7A6A637?3:=9<F33@/;2
               )63 '332 ?<B=J@ 7;C<9C3:3;A 7; =9/7;A744 #/?1399B@ #1#7997/;J@ 93/C3 <4
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        <47C79&?<132B?3'B93@       0  /;2A6/AA6323=<;3;A=?<2B13A634<99<D7;5
         2<1B:3;A@/AA6323=<@7A7<;
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       @6/99 :3/; /99 D?7A7;5@ ?35/?293@@ <4 <?757; <? 9<1/A7<; <4 /;F 87;2 7;19B27;5 0<<8@
       ?31<?2@ 93AA3?@ A3EA :3@@/53@ A3935?/:@ :3:<?/;2/ 3931A?<;71 :/79 C<713 :/79
       :3@@/53@ ?3=<?A@ :3:<?/;2/ @AB273@ @=33163@ 1/93;2/? <? 27/?F 3;A?73@ :7;BA3@
       =/:=693A@6/;2D?7AA3;;<A3@16/?A@A/0B9/A7<;@2/A/1<:=79/A7<;@=6<A<5?/=6@/B27<
        A/=3@ /;2 C723< A/=3@ <4 1<;43?3;13@ /;2 A393=6<;3 <? <A63? 1<;C3?@/A7<;@ <?
        1<::B;71/A7<;@7;2343;2/;AJ@/1AB/9<?1<;@A?B1A7C3=<@@3@@7<;1B@A<2F<?1<;A?<9A
        /9@<7;19B23@?3=?<2B1A7<;@/;2479:7:=?3@@7<;@<4/;F<4A63/4<?3:3;A7<;32D?7A7;5@
        A/=3 ?31<?27;5@ 2<1B:3;A@ @A<?32 <; 1<:=BA3? 6/?2 27@8@ <; 49<==F 27@8@ <; A/=3
        0/18B= <? 7; /;F 1<:=BA3? <? 3931A?<;71 7;4<?:/A7<; @A<?/53 23C713 /;F 4<?: <4
       1<::B;71/A7<;<??3=?3@3;A/A7<;7;19B27;593AA3?@D<?2@=71AB?3@@<B;2@<?@F:0<9@
       <?1<:07;/A7<;@A63?3<4/;27;19B27;5/99A/;57093=?7;A<BA@<47;4<?:/A7<;@A<?327;/;F
       1<:=BA3? D<?2 =?<13@@<? @3?C3? 7;A3?;3A <? 3931A?<;71 7;4<?:/A7<; @A<?/53 23C713
       7;19B27;5=?7;A<BA@<43:/79@1<=73@<4%*#$)(A6/A/?3;<A723;A71/92B=971/A3@
       <4A63<?757;/9@/;21<=73@<4/99%*#$)(D6<@3<?757;/9@/?3;<A7;2343;2/;AJ@
        =<@@3@@7<;1B@A<2F<?1<;A?<9
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        3C3?F /1A @A3= 344<?A <? ?3@=<;@3 A6/A A63 '332 ?<B= A<<8 A< =?<C723 =9/7;A744
         #/?1399B@ #1#7997/; D7A6 ?3/@<;/093 /11<::<2/A7<; 7;19B27;5 3/16 /;2 3C3?F
         /11<::<2/A7<;4B?;7@632<443?32<?1<;@723?32=?7<?A<#/F                 
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         3C3?F/1A@A3=344<?A<??3@=<;@3A6/AA63'332?<B=A<<8A</2C7@3:/G<;<?/;F<4
        7A@ /53;A@ ?39/A32 A< =?<C727;5 =9/7;A744 #/?1399B@ #1#7997/; D7A6 ?3/@<;/093
       /11<::<2/A7<;7;19B27;53/16/;23C3?F/11<::<2/A7<;/C/79/093A6/AD/@4B?;7@632
       <443?32<?1<;@723?32=?7<?A<#/F          
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            99%*#$)(A6/A@B==<?A?343?A<?39/A3A<<?/?3/@@<17/A32D7A63/16/;2
        3C3?F /1A @A3= 344<?A <? ?3@=<;@3 A6/A A63 '332 ?<B= A<<8 A< 3;5/53 7; / 5<<2 4/7A6
        7;A3?/1A7C3 :33A7;5 D7A6 =9/7;A744 #/?1399B@ #1#7997/; A< 3;@B?3 A6/A /99 ?3/@<;/093
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       3C3?F /1A @A3= 344<?A <? ?3@=<;@3 A6/A A63 '332 ?<B= A<<8 A< 3;5/53 7; / 5<<2 4/7A6
       7;A3?/1A7C3 :33A7;5 D7A6 :/G<; <? /;F <4 7A@ /53;A@ A< 3;@B?3 A6/A /99 ?3/@<;/093
       /11<::<2/A7<;@D3?3=?<C7232A<=9/7;A744#/?1399B@#1#7997/;=?7<?A<#/F                     
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        /;2 AF=3 <4 3/16 /11<::<2/A7<; A6/A A63 '332 ?<B= 6/@ :/23 /C/79/093 A< :/G<;
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         A6/A A63 '332 ?<B= A<<8 A< 7;4<?: :/G<; <? /;F <4 7A@ /53;A@ ?39/A32 A< 3;@B?7;5
         =9/7;A744 #/?1399B@ #1#7997/;J@ ?756A@ /;2 3;A7A93:3;A@ A< :3271/9 93/C3 D3?3 :/23
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       /;293;5A6@<493/C3@/;2A63=?<13@@3@A63'332?<B==?<C7232A<:/G<;A<03B@32
       A< /11<::<2/A3 =9/7;A744 #/?1399B@ #1#7997/;J@ :3271/9 =6F@71/9 27@/0797A73@ /;2 <?
       @3?7<B@ :3271/9 1<;27A7<; /@ 2347;32 0F /974<?;7/ <? 4323?/9 9/D 2B?7;5 A63 '393C/;A
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       "3/C3)3/:4793@<;=9/7;A744#/?1399B@#1#7997/;
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              99 %*#$)( ?34931A7;5 /99 ;<A3@ 1/93;2/?@ :3:<?/;2/ /;2 <A63? 4<?:/9
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        =3?@<;/993/C3@<4/0@3;13
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                      EXHIBIT 4
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   1           THE UNITED STATES DISTRICT COURT FOR THE
   2       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3
   4      MARCELLUS MCMILLIAN,               )
                                             )
   5               PLAINTIFF,                )
                                             )
   6               VS.                       ) CASE NO.:
                                             ) 2:19-CV-02121-
   7      GOLDEN STATE FC LLC,               ) MWF-JCX
          AMAZON FULFILLMENT                 )
   8      SERVICES, INC., AMAZON.COM         )
          SERVICES, INC., AMAZON.COM,        )
   9      INC., DEVON FRANKLIN, AND          )
          DOES 1 TO 100, INCLUSIVE,          )
  10                                         )
                   DEFENDANTS.               )
  11      ___________________________________)
  12
  13                  VIDEOTAPED DEPOSITION OF
  14                DEFENDANT AMAZON.COM SERVICES,
  15          INC.'S PERSON MOST KNOWLEDGEABLE REGARDING
  16       DISABILITY ACCOMMODATION POLICIES AND PROCEDURES
  17                        BY AND THROUGH
  18                        TAMISHA DENNIS
  19                    LOS ANGELES, CALIFORNIA
  20                  MONDAY, SEPTEMBER 23, 2019
  21
  22
  23
  24      JOB NO. 3531799
          REPORTED BY: LETICIA ROJO, CSR 12132
  25      PAGES 1 - 189

                                                                        Page 1

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   1             THE UNITED STATES DISTRICT COURT FOR THE
   2       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3
   4      MARCELLUS MCMILLIAN,                                )
                                                              )
   5                  PLAINTIFF,                              )
                                                              )
   6                  VS.                                     ) CASE NO.:
                                                              ) 2:19-CV-02121-
   7      GOLDEN STATE FC LLC,                                ) MWF-JCX
          AMAZON FULFILLMENT                                  )
   8      SERVICES, INC., AMAZON.COM                          )
          SERVICES, INC., AMAZON.COM,                         )
   9      INC., DEVON FRANKLIN, AND                           )
          DOES 1 TO 100, INCLUSIVE,                           )
  10                                                          )
                      DEFENDANTS.                             )
  11      ___________________________________)
  12
  13         VIDEOTAPED DEPOSITION OF DEFENDANT AMAZON.COM
  14      SERVICES, INC.'S PERSON MOST KNOWLEDGEABLE
  15      REGARDING DISABILITY ACCOMMODATION POLICIES AND
  16      PROCEDURES BY AND THROUGH TAMISHA DENNIS, TAKEN ON
  17      BEHALF OF THE PLAINTIFF, MARCELLUS MCMILLIAN, AT
  18      631 SOUTH OLIVE STREET, SUITE 820, LOS ANGELES,
  19      CALIFORNIA, COMMENCING AT 10:12 A.M., ON MONDAY,
  20      SEPTEMBER 23, 2019, BEFORE LETICIA ROJO, A
  21      CERTIFIED SHORTHAND REPORTER, LICENSE NO. 12132,
  22      PURSUANT TO NOTICE.
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   1      APPEARANCES:
   2
   3
   4      FOR THE PLAINTIFF, MARCELLUS MCMILLIAN:
   5             RODRIGUEZ & TRAN, LLP
                 BY:     GRISELDA S. RODRIGUEZ, ESQ.
   6             631 SOUTH OLIVE STREET, SUITE 820
                 LOS ANGELES, CALIFORNIA, 90014
   7             TELEPHONE:         (213)325-3024
                 FACSIMILE:         (213)325-3027
   8             GRISELDA@RODRIGUEZTRAN.COM
   9
  10
  11
  12
  13      FOR THE DEFENDANTS, AMAZON.COM SERVICES, INC.:
  14             PERKINS COIE LLP
                 BY:     ANDREW MORIARTY, ESQ.
  15             1201 THIRD AVENUE, SUITE 4900
                 SEATTLE, WASHINGTON, 98101-3099
  16             TELEPHONE:         (206)359-8629
                 FACSIMILE:         (206)359-9629
  17             AMORIARTY@PERKINSCOIE.COM
  18
  19
  20
  21
  22      ALSO PRESENT:
  23             KATY AMETON, VIDEOGRAPHER
  24
  25

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   1                                    I N D E X
   2
   3      WITNESS:     TAMISHA DENNIS
   4
   5
   6      EXAMINATION                                                      PAGE
   7                   BY MS. RODRIGUEZ                                           7
   8
   9
  10
  11                         INFORMATION REQUESTED:
  12                                          (NONE)
  13
  14                 QUESTIONS INSTRUCTED NOT TO ANSWER:
  15                                          (NONE)
  16
  17
  18                               E X H I B I T S
  19      PLAINTIFF'S        DESCRIPTION                                   PAGE
  20      EXHIBIT 1          NOTICE OF TAKING DEPOSITION
                             OF DEFENDANT AMAZON.COM
  21                         SERVICES, INC.'S PMK                                16
  22      EXHIBIT 2          ACCOMMODATIONS CASE MANAGEMENT
                             STANDARD OPERATING PROCEDURE
  23                         AMZN-MCMILL_000907 - 000936                         75
  24      EXHIBIT 3          TIME DETAIL
                             AMZN-MCMILL_000116 - 000127                     121
  25

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   1                          (EXHIBITS CONTINUED)
   2
          EXHIBIT 4          DISABILITY STATEMENT
   3                         MM 000001 - 000014                              143
   4      EXHIBIT 5          E-MAIL THURSDAY, JUNE 21, '18
                             AMZN-MCMILL_00900                               147
   5
          EXHIBIT 6          E-MAIL AMZN-MCMILL_000897 -
   6                         000898                                          151
   7      EXHIBIT 7          E-MAIL, JUNE 26, '18
                             AMZN-MCMILL_000903 - 00904                      157
   8
          EXHIBIT 8          E-MAIL, JUNE 21, '18
   9                         AMZN-MCMILL_000905 - 000906                     163
  10      EXHIBIT 9          E-MAIL, APRIL 25, '18
                             AMZN-MCMILL_000887 - 000890                     164
  11
          EXHIBIT 10         E-MAIL, APRIL 26, '18
  12                         MM 00330 - 000334                               167
  13      EXHIBIT 11         AMZN-MCMILL_001136 - 001137                     169
  14
  15                   (EXHIBITS 2, 3, 4, 5 & 6 WERE
  16                          MARKED CONFIDENTIAL.)
  17
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   1      is attached hereto.)

   2                   MS. RODRIGUEZ:       Maybe we can go off the

   3      record while you review it.           And let me know when

   4      you're ready, and we can go back on the record.

   5                   THE VIDEOGRAPHER:        We are now off the            10:21

   6      record.     The time is 10:21 a.m.

   7                           (Recess was taken.)

   8                   THE VIDEOGRAPHER:        We are back on the

   9      record.     The time is 10:24 a.m.

  10      BY MS. RODRIGUEZ:                                                   10:24

  11           Q.      Okay.    Are you ready to discuss the

  12      document?

  13           A.      Yes.

  14           Q.      Do you recognize the document?

  15           A.      No, I don't.                                           10:24

  16           Q.      Is this the first time you've seen it?

  17           A.      Yes.

  18           Q.      Okay.    So what this is, it was the

  19      deposition notice for you to be here today, and it

  20      lists the topics of which we were looking to take                   10:24

  21      the deposition of the PMK of.            So I'm going to go

  22      through the type of PMK that we requested, and then

  23      you can confirm whether you are the person most

  24      knowledgeable in regards to that topic.                Okay?

  25                   MR. MORIARTY:      That might be better done           10:25

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   1      with me.    We submitted objections, right?               So do

   2      you want to ask her about it, or do you want to

   3      just clarify what she's going to talk about today?

   4                  MS. RODRIGUEZ:        Okay.     We can clarify, if

   5      you'd like.    Sure.                                                    10:25

   6                  MR. MORIARTY:       All right.       So she is

   7      prepared to talk about Category 2, which is

   8      plaintiff's accommodation; Category 4, which is,

   9      again, plaintiff's accommodation; and Category 6 to

  10      the extent that that category is about                                  10:25

  11      accommodation, policies and processes.

  12      BY MS. RODRIGUEZ:

  13           Q.     Okay.    So with regards to the other

  14      topics, she wouldn't be the person most

  15      knowledgeable for that?                                                 10:26

  16                  MR. MORIARTY:       Right.

  17                  MS. RODRIGUEZ:        Okay.

  18                  MR. MORIARTY:       I mean, there are other

  19      objectives for those topics, too, but she's here to

  20      talk about the accommodations process as it worked                      10:26

  21      for Mr. McMillian and the accommodations process in

  22      general.

  23      BY MS. RODRIGUEZ:

  24           Q.     Okay.    So we will then just touch on

  25      number 2, which is page 3 of Exhibit 1.                Okay.      And   10:26

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   1                 (Discussion held off the record.)

   2                  MS. RODRIGUEZ:        Okay.     So I would propose

   3      the following stipulation:

   4                  That the court reporter be relieved of

   5      her statutory duty to maintain custody of the                       03:08

   6      original deposition transcript;

   7                  That after the record has been

   8      transcribed, the reporter shall send the original

   9      transcript to counsel for the defendants;

  10                  Thereafter, deponent shall have 30 days                 03:08

  11      within which to read, review, and make corrections

  12      to the transcript that deponent deems necessary,

  13      sign the deposition in the space provided, and

  14      return the original deposition transcript with

  15      changes or errata page, if any, and signature page                  03:08

  16      to counsel for defendant, within 30 days of the

  17      witness receipt thereof;

  18                  And counsel for defendants will then, in

  19      turn, maintain custody of the original executed

  20      transcript, and will agree to produce it and lodge                  03:08

  21      it with the court at the time of trial, or for any

  22      proceeding for which it may be needed upon

  23      reasonable notice;

  24                  And counsel for defendants shall also

  25      advise all other counsel in writing of any changes,                 03:08

                                                                        Page 185

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   1      corrections, additions, or deletions made by the

   2      deponent to the transcript, and will provide all

   3      counsel with a copy of the signature and errata

   4      page of such deposition transcript within --

   5                  Is three days enough, Counsel, or do you                03:09

   6      need a few more days?

   7                  MR. MORIARTY:       Three days from what?

   8                  MS. RODRIGUEZ:        From when you receive it

   9      from --

  10                  MR. MORIARTY:       Yeah, how about more like           03:09

  11      10.

  12                  M. RODRIGUEZ:       Ten days?       Okay.

  13                  Within 10 days of counsel's receipt

  14      thereof.

  15                  Again, in the event that the original                   03:09

  16      executed transcript is not reviewed, corrected, if

  17      necessary, or signed by the deponent within the

  18      time frame I have just stated, or in the event that

  19      the original executed transcript may become lost or

  20      otherwise unavailable, that the parties agree that                  03:09

  21      a certified copy may be used for all purposes as if

  22      it were a duly executed and signed original

  23      transcript.

  24                  So stipulated?

  25                  MR. MORIARTY:       So stipulated.                      03:09

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   1                  THE VIDEOGRAPHER:         This concludes today's

   2      deposition of Tamisha Dennis, person most

   3      knowledgeable for Amazon Services.

   4                  We are now off the record.             The time is

   5      3:09 p.m.                                                           03:09

   6             (The deposition concluded at 3:09 p.m.)

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   1      STATE OF     _______________________)
                                                           ) SS.
   2      COUNTY OF _______________________)
   3
   4
   5                   I, the undersigned, declare under penalty
   6      of perjury:
   7                   That I have read the foregoing
   8      transcript;
   9                   That I have made any corrections,
  10      additions, or deletions that I was desirous of
  11      making;
  12                   That the foregoing is a true and correct
  13      transcript of my testimony contained therein.
  14
  15      EXECUTED this _____ day of _______, 20____, at
  16      _____________________, ______________________.
                     [City]                           [State]
  17
  18
  19                                  ____________________________
                                        PMK, TAMISHA DENNIS
  20
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                                                                        Page 188

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   1                         REPORTER'S CERTIFICATE
   2
   3                   I, LETICIA ROJO, CSR No. 12132, Certified
   4      Shorthand Reporter, certify:
   5                   That the foregoing proceedings were taken
   6      before me at the time and place therein set forth,
   7      at which time the witness was put under oath by me;
   8                   That the testimony of the witness, the
   9      questions propounded, and all objections and
  10      statements made at the time of the examination were
  11      recorded stenographically by me and were thereafter
  12      transcribed;
  13                   That a review of the transcript by the
  14      deponent WAS requested;
  15                   That the foregoing is a true and correct
  16      transcript of my shorthand notes so taken.
  17                   I further certify that I am not a
  18      relative or employee of any attorney of the
  19      parties, nor financially interested in the action.
  20                   I declare under penalty of perjury under
  21      the laws of California that the foregoing is true
  22      and correct.
  23              Dated this 19th day of November, 2019
  24
                         <%16246,Signature%>
  25                      LETICIA ROJO CSR No. 12132

                                                                        Page 189

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                      EXHIBIT 5
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   1          THE UNITED STATES DISTRICT COURT FOR THE
   2      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3
   4     MARCELLUS MCMILLIAN,               )
                                            )
   5              PLAINTIFF,                )
                                            )
   6              VS.                       ) CASE NO.:
                                            ) 2:19-CV-02121-
   7     GOLDEN STATE FC LLC,               ) MWF-JCX
         AMAZON FULFILLMENT                 )
   8     SERVICES, INC., AMAZON.COM         )
         SERVICES, INC., AMAZON.COM,        )
   9     INC., DEVON FRANKLIN, AND          )
         DOES 1 TO 100, INCLUSIVE,          )
  10                                        )
                  DEFENDANTS.               )
  11     ___________________________________)
  12
  13                   VIDEOTAPED DEPOSITION OF
  14               DEFENDANT AMAZON.COM SERVICES,
  15       INC.'S PERSON MOST KNOWLEDGEABLE REGARDING THE
  16         TERMINATION OF PLAINTIFF'S EMPLOYMENT AND
  17          REPLACEMENT OF PLAINTIFF, BY AND THROUGH
  18                         AMY VIRDEN
  19                   LOS ANGELES, CALIFORNIA
  20                 TUESDAY, SEPTEMBER 24, 2019
  21
  22
  23
  24     JOB NO. 3531795
         REPORTED BY: LETICIA ROJO, CSR 12132
  25     PAGES 1 - 163

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   1           THE UNITED STATES DISTRICT COURT FOR THE
   2      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3
   4     MARCELLUS MCMILLIAN,                                  )
                                                               )
   5                 PLAINTIFF,                                )
                                                               )
   6                 VS.                                       ) CASE NO.:
                                                               ) 2:19-CV-02121-
   7     GOLDEN STATE FC LLC,                                  ) MWF-JCX
         AMAZON FULFILLMENT                                    )
   8     SERVICES, INC., AMAZON.COM                            )
         SERVICES, INC., AMAZON.COM,                           )
   9     INC., DEVON FRANKLIN, AND                             )
         DOES 1 TO 100, INCLUSIVE,                             )
  10                                                           )
                     DEFENDANTS.                               )
  11     ___________________________________)
  12
  13         VIDEOTAPED DEPOSITION OF DEFENDANT AMAZON.COM
  14     SERVICES, INC.'S PERSON MOST KNOWLEDGEABLE
  15     REGARDING THE TERMINATION OF PLAINTIFF'S EMPLOYMENT
  16     AND REPLACEMENT OF PLAINTIFF, BY AND THROUGH
  17     AMY VIRDEN, TAKEN ON BEHALF OF THE PLAINTIFF,
  18     MARCELLUS MCMILLIAN, AT 631 SOUTH OLIVE STREET,
  19     SUITE 820, LOS ANGELES, CALIFORNIA, COMMENCING AT
  20     10:20 A.M., ON TUESDAY, SEPTEMBER 24, 2019, BEFORE
  21     LETICIA ROJO, A CERTIFIED SHORTHAND REPORTER,
  22     LICENSE NO. 12132, PURSUANT TO NOTICE.
  23                                 ---O0O---
  24
  25

                                                                           Page 2

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   1     APPEARANCES:
   2
   3
   4     FOR THE PLAINTIFF, MARCELLUS MCMILLIAN:
   5            RODRIGUEZ & TRAN, LLP
                BY:     JORGE GUARDADO, ESQ.
   6            631 SOUTH OLIVE STREET, SUITE 820
                LOS ANGELES, CALIFORNIA, 90014
   7            TELEPHONE:         (213)325-3024
                FACSIMILE:         (213)325-3027
   8            JORGE@RODRIGUEZTRAN.COM
   9
  10
  11
  12
  13     FOR THE DEFENDANTS, AMAZON.COM SERVICES, INC.:
  14            PERKINS COIE LLP
                BY:     ANDREW MORIARTY, ESQ.
  15            1201 THIRD AVENUE, SUITE 4900
                SEATTLE, WASHINGTON, 98101-3099
  16            TELEPHONE:         (206)359-8629
                FACSIMILE:         (206)359-9629
  17            AMORIARTY@PERKINSCOIE.COM
  18
  19
  20
  21
  22     ALSO PRESENT:
  23            KATY AMETON, VIDEOGRAPHER
  24
  25

                                                                        Page 3

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   1                                  I N D E X
   2
   3     WITNESS:     AMY VIRDEN
   4
   5
   6     EXAMINATION                                                      PAGE
   7                  BY MS. GUARDADO                                   8, 156
   8                  BY MR. MORIARTY                                      153
   9
  10
  11                       INFORMATION REQUESTED:
  12                                    (NONE)
  13
  14
  15
  16
  17
  18                              E X H I B I T S
  19     PLAINTIFF'S         DESCRIPTION                                  PAGE
  20     EXHIBIT 1        NOTICE OF TAKING DEPOSITION
                          OF DEFENDANT AMAZON.COM
  21                      SERVICES, INC.'S PMK                              13
  22     EXHIBIT 2        TIME AND ATTENDANCE POLICY
                          AMZN-MCMILL_000939 - 000942                       53
  23
         EXHIBIT 3        TIME DETAIL
  24                      AMZN-MCMILL_000116 - 000127                       59
  25     EXHIBIT 4        AMZN-MCMILL_000937 - 000127                       73

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   1                        (EXHIBITS CONTINUED)
   2
   3     EXHIBIT 5       JOB ABANDONMENT NEGATIVE
                         UPT PROCESS                                     75
   4
         EXHIBIT 6       E-MAIL, AMZN-MCMILL_001000                      90
   5
         EXHIBIT 7       E-MAIL, FEB. 3, 2018
   6                     MM 000245 - MM 000246                           96
   7     EXHIBIT 8       E-MAIL, FEB 4, 2018
                         MM 000251 - MM000252                           100
   8
         EXHIBIT 9       CLAIM STATUS SUMMARY,
   9                     FEB. 23, 2018
                         MM 000304 - MM 000305                          110
  10
         EXHIBIT 10      E-MAIL, FEB 19, 2018
  11                     MM 00292 - MM 000295                           116
  12     EXHIBIT 11      E-MAIL, APRIL 22, '18
                         MM 000326 - MM000329                           119
  13
         EXHIBIT 12      E-MAIL, APRIL 26, '18
  14                     MM 000330 - MM000331                           120
  15     EXHIBIT 13      E-MAIL, MAY 3, '18
                         MM 000096 - 000099                             124
  16
         EXHIBIT 14      SUPPORTIVE FEEDBACK DOC.
  17                     ATTENDANCE - TERMINATION
                         AMZN-MCMLLN_000071                             126
  18
         EXHIBIT 15      E-MAIL, MAY       3, '18
  19                     MM 000105 -       000107                       130
  20     EXHIBIT 16      E-MAIL, MAY       3, '18
                         MM 000100 -       000104                       132
  21
         EXHIBIT 17      E-MAIL, MAY       5, '18
  22                     MM 000108 -       000110                       137
  23     EXHIBIT 18      E-MAIL, MAY       7, '18
                         MM 000111 -       000112                       138
  24
         EXHIBIT 19      E-MAIL, JUNE 21, 2018
  25                     AMZN-MCMLLN_000900                             140

                                                                        Page 5

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   1     performance.

   2          Q.     Is that the same as the People Tracker

   3     that we mentioned earlier?

   4          A.     It's called ADAPT.

   5          Q.     ADAPT?                                                 10:51

   6          A.     Yeah.

   7          Q.     Is that A-D-A-P-T?

   8          A.     P-T.

   9          Q.     And is that -- is ADAPT handled by a

  10     third party administrator, or?                                     10:51

  11          A.     No, it is handled by Amazon.

  12          Q.     Okay.    That's all for that document for

  13     now, thankfully.

  14                 So are you currently employed?

  15          A.     Yes.                                                   10:52

  16          Q.     And where are you employed?

  17          A.     Amazon.com.

  18          Q.     And do you know if that's Amazon.com

  19     Services, Inc. or a different subsidiary of Amazon?

  20          A.     Not that I'm aware of.                                 10:52

  21          Q.     And what's your current position with

  22     Amazon?

  23          A.     HR manager.

  24          Q.     And how long have you had that position?

  25          A.     It's been four years.                                  10:53

                                                                        Page 31

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   1          Q.      So that dates back to, approximately,

   2     2015?

   3          A.      Approximately.

   4          Q.      Do you know what month you started as an

   5     HR manager in 2015?                                                10:53

   6          A.      I believe it was September.

   7          Q.      And did you work for Amazon prior to

   8     September 2015?

   9          A.      Yes.

  10          Q.      And what was your position prior to that?             10:53

  11          A.      HR business partner.

  12          Q.      And how long did you have that position?

  13          A.      Two-and-a-half years.

  14          Q.      So, approximately, 2013, you would say?

  15          A.      Yeah, it was September of 2012.                       10:53

  16          Q.      And what are your current job duties as

  17     an HR manager?

  18          A.      Responsible for ensuring associate

  19     interaction, engagement, and managing multiple

  20     sites.                                                             10:54

  21          Q.      And what are those sites?

  22          A.      As in like the titles of them, or

  23     locations.

  24          Q.      Let's start with -- let's start with

  25     titles first.                                                      10:54

                                                                        Page 32

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   1                 And counsel for defendants shall also

   2     advise all other counsel in writing of any changes,

   3     corrections, additions, or deletions made by the

   4     deponent to the transcript, and will provide all

   5     counsel with a copy of the signature and errata                     03:09

   6     page of such deposition transcript within --

   7                 Is three days enough, Counsel, or do you

   8     need a few more days?

   9                 MR. MORIARTY:       Three days from what?

  10                 MS. RODRIGUEZ:       From when you receive it           03:09

  11     from --

  12                 MR. MORIARTY:       Yeah, how about more like

  13     10.

  14                 M. RODRIGUEZ:       Ten days?       Okay.

  15                 Within 10 days of counsel's receipt                     03:09

  16     thereof.

  17                 Again, in the event that the original

  18     executed transcript is not reviewed, corrected, if

  19     necessary, or signed by the deponent within the

  20     time frame I have just stated, or in the event that                 03:09

  21     the original executed transcript may become lost or

  22     otherwise unavailable, that the parties agree that

  23     a certified copy may be used for all purposes as if

  24     it were a duly executed and signed original

  25     transcript.                                                         03:09

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   1                    So stipulated?
   2                    MR. MORIARTY:              So stipulated.)
   3              (The deposition concluded at 3:47 p.m.)
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   1
         STATE OF     _______________________)
   2                                                      ) SS.
         COUNTY OF _______________________)
   3
   4
   5                  I, the undersigned, declare under penalty
   6     of perjury:
   7                  That I have read the foregoing
   8     transcript;
   9                  That I have made any corrections,
  10     additions, or deletions that I was desirous of
  11     making;
  12                  That the foregoing is a true and correct
  13     transcript of my testimony contained therein.
  14
  15     EXECUTED this _____ day of ________, 20____, at
  16     _____________________, ______________________.
                    [City]                           [State]
  17
  18
  19                                 ____________________________
                                        PMK AMY VIRDEN
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   1     STATE OF CALIFORNIA            )
                                        ) ss:
   2     COUNTY OF LOS ANGELES )
   3
   4                  I, Leticia Rojo, do hereby certify:
   5
   6                  That I am a duly qualified Certified
   7     shorthand Reporter, in and for the State of
   8     California, holder of certificate number 12132,
   9     which is in full force and effect and that I am
  10     authorized to administer oaths and affirmations;
  11                  That the foregoing deposition testimony
  12     of the herein named witness was taken before me at
  13     the time and place herein set forth;
  14                  That prior to being examined, the witness
  15     named in the foregoing deposition, was duly sworn
  16     or affirmed by me, to testify the truth, the whole
  17     truth, and nothing but the truth;
  18                  That the testimony of the witness and all
  19     objections made at the time of the examination were
  20     recorded stenographically by me, and were
  21     thereafter transcribed under my direction and
  22     supervision;
  23                  That the foregoing pages contain a full,
  24     true and accurate record of the proceedings and
  25     testimony to the best of my skill and ability;

                                                                        Page 162

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   1                  That prior to the completion of the
   2     foregoing deposition, review of the transcript WAS
   3     requested.
   4                  I further certify that I am not a
   5     relative or employee or attorney or counsel of any
   6     of the parties, nor am I a relative or employee of
   7     such attorney or counsel, nor am I financially
   8     interested in the outcome of this action.
   9
  10                  IN WITNESS WHEREOF, I have subscribed my
  11     name this 20TH day of NOVEMBER, 2019.
  12
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  14
  15                     <%16246,Signature%>
  16                     LETICIA ROJO, CSR No. 12132
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1    McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                   PROOF OF SERVICE
3                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 145 South Spring
5    Street, Suite 400, Los Angeles, California 90012.
6          On March 8, 2022, I served the foregoing document, described as “PLAINTIFF
     MARCELLUS MCMILLIAN’S AMENDED OPPOSITION TO DEFENDANTS’
7    MOTION IN LIMINE NO. 4 TO EXCLUDE ARGUMENTS RE: WITNESS
     TRAINING ON CALIFORNIA LAW” on all interested parties in this action by placing
8    true copies thereof in sealed envelopes, addressed as follows:
9    Barbara A. Fitzgerald, Esq.                   Ethel J. Johnson, Esq.
     Barbara.Fitzgerald@morganlewis.com            ethel.johnson@morganlewis.com
10   MORGAN, LEWIS & BOCKIUS LLP                   MORGAN, LEWIS & BOCKIUS LLP
     300 South Grand Avenue, 22nd Floor            One Market, Spear Street Tower
11   Los Angeles, California 90071                 San Francisco, California 94105
12   Alexander L. Grodan, Esq.
     Alexander.Grodan@morganlewis.com
13   MORGAN, LEWIS & BOCKIUS LLP
     600 Anton Boulevard, Suite 1800
14   Costa Mesa, California 92626
15         BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
           document(s) with the Clerk of the Court by using the CM/ECF system. Participants
16         in the case who are registered CM/ECF users will be served by the CM/ECF system.
           Participants in the case who are not registered CM/ECF users will be served by mail
17         or by other means permitted by the court rules.
18         (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this Court at whose direction the service was made. I declare, under penalty of
19         perjury under the laws of the United States of America, that the above is true and
           correct.
20
          Executed on March 8, 2022, at Los Angeles, California.
21

22

23                                               Jose Castro
24

25

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27

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